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 6                            UNITED STATES BANKRUPTCY COURT

 7                                         DISTRICT OF ARIZONA
  8   In re:                                                           Chapter 13 Case
 9                                                                No. 4:21 -bk-02398-SHG
 10   GEORGE ALBERT DOLA K, II, and                            STIPULATED ORDER
      RUANDA LEE D OLAI<:.,                               CONFIRMING SECOND AMENDED
 11                                                             CHAPTER 13 PLAN
 12
               D ebtors.
 13
         The Second Amended Chapter 13 Plan (docket 40, the " Plan") having b een properly
 14
      noticed out to creditors and an y objection to confirmation having been resolved,
 15
            IT IS ORDERED confirming the Plan of the D ebtors as follows:
 16
      (A)      INCOME SUBMITTED TO THE PLAN. D ebtors shall submit the following
 17            amounts of future income to the Trustee for distribution under the Plan .
 18            1) Future Earnings or Income. D ebtors shall make the following monthly Plan
                  payments:
 19
                  Mon ths     Amount
20
                  1 - 12      $1,269.02.
21                13 - 58     $1,129.65
22    The payments are due on or b efore the 211d day of each month commencing May 2, 2021.
23    D ebtors are advised that w hen payments are remitted late, additional interest may accrue on
      secured debts, w hich m ay result in a funding shortfall at the end of the Plan term.
24
                  Any funding shortfall must be cured before the plan is deemed completed. The
25                D ebtors shall provide, directly to the Trustee copies of their federal and state
                  income tax returns for post-petitio n years within 14 days of filing them .
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 1
           2) Other Property. If the Debtors receive a tax refund in excess of $1,000, the
 2            debtors shall pay such refund directly to the Trustee as supplements to the
 3            plan. In the event that other property is submitted, it shall be treated as
              supplemental payments. In no event will the term of the Plan be reduced to less
 4            than 36 months, exclusive of any property recovered by the Trustee, unless all
              allowed claims are paid in full.
 5

 6   (B)   DURATION. This Plan shall continue for 58 months from the first regular monthly
 7         payment described in Paragraph (A) (1) above. If at any time before the end of the
           Plan period all claims are paid, then the Plan shall terminate.
 8   (C)   Debtors are instructed to remit all payments on or before the stated due date each
 9         month. Debtors are advised that when payments are remitted late, additional interest
           may accrue on secured debts, which may result in a funding shortfall at the end of the
10         Plan term. Any funding shortfall must be cured before a discharge can be entered. This
           requirement is effective regardless of plan payment suspensions, waivers or
11         moratoriums, and must be included in any Stipulated Order Confirming.
12

13   (D)   CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified
           and paid as listed below. The Plan and this Order shall not constitute an informal
14         proof of claim for any creditor. The Trustee shall receive the percentage fee on the
           Plan payments pursuant to 28 U.S.C. § 586(e), then the Trustee will pay creditors in the
15         following order:

16         1) Administrative expenses:

              Attorney Fees. Alan R. Solot, shall be allowed total compensation of $4,497
17            attorney’s fees. Attorney fees of $1,547 were paid by the Debtors prior to filing this
              case. Alan R. Solot will be paid $2,950 by the Chapter 13 Trustee.
18
              Flat Fee. Counsel for the Debtor has agreed to a total sum of $4,500 or less to
19            represent the Debtor. Counsel has agreed to perform the following services
              through confirmation of the plan:
20
              All of the below, except Additional Services.
21            Review of financial documents and information.
              Consultation, planning, and advice, including office visits and telephone
22            communications.
              Preparation of Petition, Schedules, Statement of Financial Affairs, Master Mailing
23            List.
              Preparation and filing of Chapter 13 Plan, Plan Analysis, and any necessary
24            amendments.
              Attendance at the § 341 meeting of creditors.
25            Resolution of creditor objections and Trustee recommendations, and attendance at
              hearings.
26            Reviewing and analyzing creditor claims for potential objections, and attendance at
              hearings.

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             Responding to motions to dismiss, and attendance at hearings.
 1           Responding to motions for relief from the automatic stay, and attendance at
             hearings.
 2           Drafting and mailing of any necessary correspondence.
             Preparation of proposed order confirming the plan.
 3           Representation in any adversary proceedings.
             Representation regarding the pre-filing credit briefing and post-filing education
 4           course.
 5
          2) Claims Secured by Real Property:
 6
             a. Creditor Deutsche Bank National Trust Company, as Trustee for Ameriquest
 7              Mortgage Securities Inc., Asset-Backed Pass-Through Certificates, Series 2006-
                R2 (“PHH Mortgage Corporation”) secured by a security interest in the
 8              Debtor’s residence shall be paid $ 18,617.10 through the plan for the arrears
                described in the proof of claim filed April 26, 2021 at Claim 11.
 9           b. As provided for in this Court's Standing Order Effective October 1, 2008 for
                conduit plans and in Rule 3002.1, in the event that PHH Mortgage
10              Corporation’s payment shall change, Debtors must pay the then-current
                monthly payment amount so long as PHH Mortgage Corporation complies
11
                with the requirements of Rule 3002.1.
             c. The conduit shall be paid by Trustee through the plan beginning in month one
                of the Plan for the mortgage payment due to creditor on May 1, 2021. The
12              conduit shall be paid through the plan for a total of 58 monthly mortgage
                payments. For any month where the balance on hand in Debtor’s account is
13              insufficient to allow disbursement of the conduit payment and adequate
                protection payments that have come due, the amount due for that month will
14              be paid to creditor on the next regular disbursement date when Debtor’s
                account balance has sufficient funds.
15
          3) Claims Secured by Personal Property:
16
                 Titlemax of Arizona, Inc., claim number 10, secured by a lien in a certain 2002
17               Pontiac Bonneville, shall be paid a secured claim of $800.77 with 3.50%
                 interest. The creditor will receive adequate protect payments of $10.00 per
18               month. Upon the entry of Debtors’ discharge the lien on that certain 2002
                 Pontiac Bonneville, shall be released to Debtors by Titlemax of Arizona, Inc..
19               Any amounts remaining shall be paid as an unsecured nonpriority claim and
                 discharged at the completion of the Plan.
20
                 Credit Acceptance is no longer a secured creditor on the 2013 Chevy
21               Cruise which was totaled 3/24/21 in motor vehicle collision.

22        4) Unsecured Priority Claims:

23               none
          5) Other Provisions:
24
                 None
25
          6) General Unsecured Non-priority Claims. All other claims shall be classified as
26           unsecured and non-priority. Such claims shall be paid pro rata the balance of the

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                 payments under the Plan and any unsecured debt balance remaining unpaid at the
                 end of the Plan may be discharged as provided in 11 U.S.C. §1328(a).
 2
             b. EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be
 3              the date of this Order. Property of the estate vests in D ebtors upon confirmation.

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 6                                      ORDER SIGNED ABOVE

  7
      Approved as to Form and Content by:
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 10
      Dianne Crandell K erns, Trustee
 II

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 I3
      Isl Alan R S o!ot
 I4   Alan R. Solot
 I5   Attorney for D ebtor (s)

 16   z_ er. @A _:n:-
 17   GEORGE ALBERT DOLAK, II, Debtor
 18

 I9~
20    RUAND A LEE DOLAK UGHES, D ebtor
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                                               PLAN ANALYSIS

 2     (1)        Trustee's compensation (10% of Total plan payments to Trustee)          $     6,719.42
       (2)        Administrative Expenses (§(C)(2))                                       $     2,950.00
 3     (3)        Leases and Executory Contracts (§(C)(3))                                $         0.00
       (4)        (a) Conduit Mortgage Payments(§ (C)(4)(c))                              $    36,826.52
 4
       (4)        (b) Arrearage Claims Secured Solely by Real Property(§ (C)(4)(c))       $    19,817.10
 5     (5)        (a) Claims Secured by Personal Property or Combination of Real
                  & Personal Proper ty(§ (C)(5)) - Unmodified.                            $        0.00
 6     (5)        (b) Claims Secured by Personal Property or Combination of Real          $      878.73
                  & Personal Property (§ (C)(5)) - Modified.
 7
       (6)        Priority Unsecured Claims (§(C)(6))                                     $         0.00
 8     (7)        Unsecured Nonpriority Claims(§ (c)(7))                                  $         0.00
       (8)        Total of Plan Payments to Trustee                                       $    67,192.14
 9

 10
      CT)        Section 1325 Analysis.

      (1)         Best Interest of Creditors T est:
 II               Value of Debtor's interest in nonexempt property                                150.00
                                                                                          $
 I2               Plus: Value of property recoverable under avoidance powers              $         0.00
                  Less: Estimated Chapter 7 administrative expenses                       $       187.50
 13               Less: Amount payable to unsecured, priority creditors                   $         0.00
                  Equals: Estimated amount payable to unsecured, no npriority             $         0.00
 I4
                  claims if D ebtor filed Chapter 7
 I5

 16     (2) Section 1325(b) A nalysis:

 17
            (aMonthly Disposab le Income, Schedule J, (if less than $0, then              $          0.00
 18     )    state $0)
            Applicable Commitment Period                                                  $            36
 I9         Total of Line 2 (a) amount x 36                                               $          0.00
       (3) Estimated Payment to Unsecured, Nonpriority Creditors Under                $              0.00
20
       Plan
21

22    Ill
23
      Ill
24
      Ill
25

26
      Ill
                                                         5
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      The D ebtor(s) certify: All required State and F ederal income tax returns have been filed. N o
 2    do mestic sup port obligation is owed or, if owed, such payments are current since the filing of
      the Petition.
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      G EORGE ALBERT D O LAK, II, D ebtor




      RUAND A LE E D O LAK UGHES, D ebtor
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